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                     UNITED STATES DISTRICT COURT
                     SOUTHERN DISTRICT OF FLORIDA
                         FORT PIERCE DIVISION
                     CASE NO. 08-14034-CR-GRAHAM

  UNITED STATES OF AMERICA

                  Plaintiff,

  vs.

  JOSE JIMENEZ-SANCHEZ,

                Defendant.
  ___________________________/


         ORDER ADOPTING MAGISTRATE'S REPORT AND RECOMMENDATION

        THIS CAUSE came before the Court upon the Defendant’s
  request to enter a plea of guilty before a Magistrate Judge.
        THE MATTER was referred to Magistrate Judge Frank J. Lynch, on
  July 23, 2008. A Report and Recommendation filed on July 29, 2008
  recommended that the Defendant’s plea of guilty be accepted. The
  Defendant and the Government were afforded the opportunity to file
  objections to the Report and Recommendation, however, none were
  filed. The Court has conducted a de novo review of the entire file.
  Accordingly, it is
         ORDERED AND ADJUDGED that the Report and Recommendation of
  United States Magistrate Judge Frank J. Lynch, is hereby Adopted
  and Approved in its entirety. The Defendant is adjudged guilty as
  to Counts Two and Three of the Indictment.


        DONE AND ORDERED in Chambers at Miami, Florida, this 31st
  day of July, 2008.


                                       ____________________________
                                       DONALD L. GRAHAM
                                       UNITED STATES DISTRICT JUDGE
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  Copied: Magistrate Judge Frank J. Lynch
          Diana Acosta, AUSA
          Robin Rosen-Evans, AFPD
